     Case 2:21-cv-00114-SMJ   ECF No. 16    filed 08/02/21   PageID.93 Page 1 of 23




 1 Thomas G. Jarrard (WSBA #39774)
   LAW OFFICE OF THOMAS G. JARRARD, PLLC
 2 1020 N. Washington St.
   Spokane, WA 99201
 3 Telephone: (425) 239-7290
   tjarrard@att.net
 4
   Michael J. Scimone*
 5 OUTTEN & GOLDEN LLP
   685 Third Avenue, 25th Floor
 6 New York, NY 10017
   Telephone: (212) 245-1000
 7 Fax: (646) 509-2060
   mscimone@outtengolden.com
 8
   [Additional attorneys listed on following page]
 9 Attorneys for Plaintiff and the Proposed Class

10              IN THE UNITED STATES DISTRICT COURT
              FOR THE EASTERN DISTRICT OF WASHINGTON
11

12   JUSTIN BAKER, on behalf of himself          Case No. 21-cv-00114-SMJ
     and all others similarly situated,
13                                               AMENDED COMPLAINT –
                              Plaintiff,         CLASS ACTION
14
     v.                                          JURY TRIAL DEMANDED
15
     UNITED PARCEL SERVICE, INC., a              EXEMPT FROM FILING FEES
16   Delaware corporation, and UNITED            UNDER 38 U.S.C. § 4323(h)(1)
     PARCEL SERVICE, INC., an Ohio
17   corporation,
18                            Defendants.
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22                 AMENDED CLASS ACTION COMPLAINT- 1
      Case 2:21-cv-00114-SMJ    ECF No. 16   filed 08/02/21   PageID.94 Page 2 of 23




 1 Matthew Z. Crotty (WSBA #39284)
   CROTTY & SON LAW FIRM, PLLC
 2 905 W. Riverside Ave., Suite 404
   Spokane, WA 99201
 3 Telephone: (509) 850-7011
   matt@crottyandson.com
 4
   R. Joseph Barton*
 5 BLOCK & LEVITON LLP
   1735 20th Street, NW
 6 Washington D.C. 20009
   Telephone: (202) 734-7046
 7 Fax: (617) 507-6020
   jbarton@blockesq.com
 8
   Peter Romer-Friedman**
 9 GUPTA WESSLER PLLC
   1900 L Street, NW, Suite 312
10 Washington, DC 20036
   Telephone (202) 888-1741
11 peter@guptawessler.com

12 * admitted pro hac vice
   ** pro hac vice application forthcoming
13
   Attorneys for Plaintiff and the Proposed Class
14

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22                  AMENDED CLASS ACTION COMPLAINT - 2
      Case 2:21-cv-00114-SMJ      ECF No. 16    filed 08/02/21   PageID.95 Page 3 of 23




 1         Plaintiff Justin Baker, on behalf of himself and other similarly situated

 2 individuals, by and through his attorneys, alleges as follows:

 3                                   INTRODUCTION

 4         1.    This is a class action under the Uniformed Services Employment and

 5 Reemployment Rights Act (“USERRA”), 38 U.S.C. § 4301 et seq., on behalf of

 6 current and former employees of United Parcel Service, Inc., an Ohio corporation

 7 (“UPS-Ohio”), and/or United Parcel Service, Inc., a Delaware corporation (“UPS-

 8 Delaware”) (collectively, “UPS” or “Defendants”), who took short-term military

 9 leave (i.e., military leave that lasts 14 consecutive days or fewer) from UPS but

10 were not paid their normal wages or salaries by UPS during periods of short-term

11 military leave.

12         2.    Since at least October 10, 2004, UPS has had a policy and practice of

13 continuing to pay its employees’ wages or salaries during certain leaves of absence

14 from their employment with UPS, but not providing wages or salaries to

15 employees when they take short-term military leave. For example, UPS has paid

16 and continues to pay full or partial wages or salaries to employees who take jury

17 duty leave, sick leave, and bereavement leave, among other types of leave, but not

18 to employees who have taken short-term military leave.

19         3.    USERRA requires military leave to be treated no less favorably than

20 any other forms of comparable leave that an employer provides to its employees.

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22                   AMENDED CLASS ACTION COMPLAINT - 3
      Case 2:21-cv-00114-SMJ     ECF No. 16    filed 08/02/21   PageID.96 Page 4 of 23




 1 By paying employees who take jury duty leave, sick leave, bereavement leave, and

 2 other comparable forms of leave, UPS was required by USERRA to do the same

 3 for its employees who take short-term military leave.

 4         4.    By continuing to pay employees their wages and salaries during

 5 periods of jury duty, sick leave, bereavement leave, and other comparable forms of

 6 leave, while refusing to offer wages or salaries to employees during their short-

 7 term military leave, UPS violated USERRA, 38 U.S.C. § 4316(b).

 8         5.    This action seeks a declaration that UPS violated USERRA by failing

 9 to pay Plaintiff and members of the proposed Class during their periods of short-

10 term military leave, an order requiring UPS to pay its employees during their short-

11 term military leave in the future so long as UPS continues to provide pay to

12 employees who take other forms of comparable leave, and an order requiring UPS

13 to pay Plaintiff and members of the Class the wages or salaries they should have

14 earned during their periods of short-term military leave, consistent with the

15 requirements of USERRA.

16                           JURISDICTION AND VENUE

17         6.    The Court has subject matter jurisdiction over this action under 28

18 U.S.C. § 1331, because this action arises under USERRA, a federal law. This

19 Court also has subject matter jurisdiction over the USERRA claim pursuant to 38

20 U.S.C. § 4323(b)(3), which provides the district courts of the United States with

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22                   AMENDED CLASS ACTION COMPLAINT - 4
      Case 2:21-cv-00114-SMJ      ECF No. 16    filed 08/02/21   PageID.97 Page 5 of 23




 1 jurisdiction over any USERRA action brought against a private employer. UPS is

 2 a private employer within the meaning of 38 U.S.C. § 4303(4)(A) because it “pays

 3 salary or wages for work performed or . . . has control over employment

 4 opportunities.”

 5         7.     Venue is proper in this District under 38 U.S.C. § 4323(c)(2), because

 6 UPS, “the private employer of the person” who has filed this action, “maintains a

 7 place of business” in this District at its Spokane facility. Venue is also proper in

 8 this District pursuant to 28 U.S.C. § 1391(b)(2), as a substantial part of the events

 9 giving rise to the claims in this action occurred in this District.

10 Parties

11 Plaintiff Justin Baker

12         8.     Plaintiff Justin Baker resides in Spokane, Washington. He is and has

13 been employed as a full-time package driver by UPS at its Spokane, Washington

14 facility since approximately June 18, 2007. Mr. Baker has also served in the Army

15 Reserve since 2014, having attained the rank of Sergeant. Since 2015, while

16 employed by UPS, Plaintiff has routinely taken short-term leave every year to

17 engage in qualified military service to perform his military obligations in the Army

18 Reserve.

19         9.     Plaintiff was hired by Defendant UPS-Ohio and was paid by UPS-

20 Ohio throughout the course of his employment with UPS.

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22                    AMENDED CLASS ACTION COMPLAINT - 5
      Case 2:21-cv-00114-SMJ     ECF No. 16   filed 08/02/21   PageID.98 Page 6 of 23




 1 Defendant UPS-Delaware

 2         10.   Defendant UPS-Delaware, a holding company, through its

 3 subsidiaries operates the world’s largest package delivery company, providing

 4 delivery to more than 220 countries and territories. It is an employer within the

 5 meaning of 38 U.S.C. § 4303(4)(A) with its principal place of business located at

 6 55 Glenlake Parkway, N.E., Atlanta, Georgia. UPS-Delaware and its subsidiaries

 7 have more than 500,000 employees worldwide, and they have employed thousands

 8 of individuals who took short-term military leave from their employment at UPS

 9 since 2004. See Joining Forces: A Win-Win for Veterans and Employers, United

10 Parcel Service, Inc., https://www.ups.com/us/en/services/resource-center/UPS-

11 Offers-Veterans-Career-Networking-Opportunities.page (last visited Jan. 12,

12 2021).

13         11.   UPS-Delaware has “control over employment opportunities” at its

14 subsidiary UPS-Ohio, because, upon information and belief, its Board of Directors

15 and Board committees oversee labor relations, contract negotiations, compensation

16 and benefits, and other employment matters for employees of its subsidiaries

17 including UPS-Ohio. UPS-Delaware’s control, upon information and belief,

18 extends to participating in collective bargaining with unions that represent UPS

19 employees, including employees of UPS-Ohio.

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22                   AMENDED CLASS ACTION COMPLAINT - 6
      Case 2:21-cv-00114-SMJ       ECF No. 16   filed 08/02/21   PageID.99 Page 7 of 23




 1 Defendant UPS-Ohio

 2        12.    Defendant UPS-Ohio is a subsidiary of UPS-Delaware. UPS-Ohio is

 3 an employer within the meaning of 38 U.S.C. § 4303(4)(A) with its principal place

 4 of business located at 55 Glenlake Parkway, N.E., Atlanta, Georgia. At all times

 5 during Plaintiff’s employment with UPS, UPS-Ohio paid Plaintiff’s employment

 6 compensation and controlled his work opportunities, including the rights and

 7 benefits that he received during periods of short-term military leave.

 8                         CLASS ACTION ALLEGATIONS

 9        13.    Plaintiff brings this action as a class action pursuant to Rule 23 of the

10 Federal Rules of Civil Procedure on behalf of the following Class:

11        Current and former employees of UPS (including any of its
          subsidiaries) who, during their employment with Defendants, took
12        short-term military leave (14 days or less) from their employment
          with UPS and during such period of short-term military leave did not
13        receive the regular wages or salary that they would have earned had
          they continued to work their ordinary work schedules, from October
14        10, 2004 through the date of judgment in this action.

15 Excluded from the Class are all former or current employees who previously

16 reached settlements with or judgments against UPS in their individual USERRA

17 actions concerning UPS’s failure to pay compensation to employees during periods

18 of short-term military leave.

19 Impracticality of Joinder

20        14.    The Class is so numerous that joinder of all members is impracticable.

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22                   AMENDED CLASS ACTION COMPLAINT - 7
      Case 2:21-cv-00114-SMJ    ECF No. 16    filed 08/02/21   PageID.100 Page 8 of 23




 1         15.   Since 2004, UPS has employed at least several thousand employees

 2 who took short-term military leave from UPS. Accordingly, there are at least

 3 several thousand members of the proposed Class.

 4         16.   The members of the Class are geographically dispersed across the

 5 country. UPS currently has more than 1,800 operating facilities and five air hubs

 6 scattered throughout the United States.

 7 Commonality

 8         17.   The central question in this case that will generate a common answer

 9 as to the Class is whether UPS’s policy or practice of failing to provide paid leave

10 or pay to employees during periods of short-term military leave violates USERRA

11 § 4316(b).

12         18.   Plaintiff’s claims raise subsidiary common questions, including the

13 following:

14         (a) whether UPS maintains a policy or practice of refusing to pay its

15         employees when they take short-term military leave, while paying

16         employees when they take other forms of comparable leave such as jury

17         duty, sick leave, and bereavement leave;

18         (b) whether under USERRA § 4316(b) short-term military leave is

19         comparable to jury duty, sick leave, bereavement leave, and other forms of

20         leave for which UPS has provided wages or salaries to its employees;

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22                   AMENDED CLASS ACTION COMPLAINT - 8
      Case 2:21-cv-00114-SMJ    ECF No. 16    filed 08/02/21   PageID.101 Page 9 of 23




 1        (c) what relief should be awarded, including injunctive and monetary relief;

 2        and

 3        (d) whether UPS’s violations of USERRA were willful, such that it should

 4        be required to pay liquidated damages to Plaintiff and the Class Members.

 5        19.    Because UPS adopted and applied a uniform policy or practice of not

 6 paying employees when they take short-term military leave, answers to these

 7 questions will produce common answers for all members of the Class.

 8        20.    As UPS acted in a uniform, systemic manner with respect to the Class,

 9 all members of the Class suffered the same type of injury based on a single policy

10 or practice, and resolving the claims of the Class will be based on common legal

11 and factual questions. Because UPS’s policy or practice of failing to pay

12 employees when they take short-term military leave, while paying employees when

13 they take other comparable forms of leave, was applied uniformly to the Class, the

14 issues relating to the relief Class Members should receive are also common. To

15 the extent that the policy or practice is found to have violated USERRA, the

16 determination of the amounts to be paid to members of the Class will be formulaic

17 and can be readily calculated.

18 Typicality

19        21.    Plaintiff’s claims are typical of the other members of the Class,

20 because the claims challenge a uniform policy or practice by which UPS failed to

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22                   AMENDED CLASS ACTION COMPLAINT - 9
     Case 2:21-cv-00114-SMJ      ECF No. 16    filed 08/02/21   PageID.102 Page 10 of 23




 1 pay employees when they take short-term military leave, while paying employees

 2 when they take other comparable forms of leave, and because all Class Members

 3 were injured by the same uniform policy or practice.

 4 Adequacy

 5         22.    Plaintiff will fairly and adequately protect the interests of other

 6 members of the Class.

 7         23.    Plaintiff does not have any conflict with any other member of the

 8 Class. Plaintiff understands his obligations as a class representative, has already

 9 undertaken steps to fulfill them, and is prepared to continue to fulfill his duties as

10 class representative.

11         24.    UPS has no unique defenses against the Plaintiff that would interfere

12 with Plaintiff’s representation of the Class.

13         25.    Plaintiff is represented by counsel with significant experience in

14 prosecuting class action litigation, including class action litigation involving rights

15 and benefits of servicemembers.

16 Rule 23(b)(3)

17         26.    The claim can be certified as a class action under Rule 23(b)(3) of the

18 Federal Rules of Civil Procedure because the questions of law and fact common to

19 the members of the Class predominate over questions affecting only individual

20 members and a class action is superior to other available methods for the fair and

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22                   AMENDED CLASS ACTION COMPLAINT - 10
     Case 2:21-cv-00114-SMJ     ECF No. 16     filed 08/02/21   PageID.103 Page 11 of 23




 1 efficient resolution of this controversy.

 2         27.   The common questions of law and fact concern whether UPS’s policy

 3 of failing to pay employees when they take short-term military leave, while paying

 4 employees when they take other comparable forms of leave, violated USERRA.

 5 As the members of the Class were all employees of UPS who took short-term

 6 military leave and their compensation was affected by those violations, common

 7 questions related to UPS’s liability will necessarily predominate over any

 8 individual questions. As the calculation of Class Members’ wages and/or salaries

 9 during periods of short-term military leave can be readily calculated based on their

10 wage and/or salary rates, and relief primarily consists of a declaration and an order

11 requiring UPS to pay the Class Members the wages or salaries they are owed

12 consistent with USERRA, common questions as to remedies will likewise

13 predominate over any individual issues.

14         28.   A class action is superior to other available methods for the fair and

15 efficient resolution of this controversy. The common issues will be efficiently

16 resolved in a single class proceeding rather than multiple proceedings. Class

17 certification is a superior method of proceeding in this action, because it will

18 obviate the need for unduly duplicative litigation that might result in inconsistent

19 judgments about Defendants’ obligations under USERRA and of the remedy that

20 should be provided under USERRA.

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22                   AMENDED CLASS ACTION COMPLAINT - 11
     Case 2:21-cv-00114-SMJ        ECF No. 16    filed 08/02/21   PageID.104 Page 12 of 23




 1         29.      The following additional factors set forth in Rule 23(b)(3) also

 2 support certification.

 3         (a) The members of the Class have a strong interest in a unitary adjudication

 4               of the issues presented in this action. Additionally, many members of the

 5               Class are unlikely to have sufficient damages to justify pursuing an

 6               individual action in federal court or to obtain counsel to pursue an

 7               individual action, but all Class Members would benefit from a class

 8               action that obtains relief for all members of the Class.

 9         (b) No other litigation concerning Plaintiff’s claim that UPS should have

10               paid its employees when they take short-term military leave has been

11               filed by any other members of the Class.

12         (c) This is an appropriate forum for these claims because, among other

13               reasons, jurisdiction and venue are proper, and UPS has substantial

14               operations in Spokane, and therefore a significant portion of the Class

15               works and/or resides in this District.

16         (d) There are no difficulties in managing this case as a class action.

17                                FACTUAL ALLEGATIONS

18 UPS’s Policy and Practice Regarding Military Leave

19         30.      Since at least October 10, 2004, when a servicemember employee of

20 UPS has taken military leave that lasts 14 days or less (“short-term military

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22                      AMENDED CLASS ACTION COMPLAINT - 12
     Case 2:21-cv-00114-SMJ       ECF No. 16    filed 08/02/21   PageID.105 Page 13 of 23




 1 leave”), UPS has not provided paid leave or pay to the employee during such short-

 2 term military leave. When an employee of UPS has been required to be absent

 3 from his or her employment at UPS for any one of a number of non-military

 4 reasons, including that the employee needs to address the death of a family

 5 member or is ill, however, UPS has provided paid leave or the employee’s full

 6 wages and/or salary during his or her leave of absence. And when a UPS

 7 employee has been absent from work because he or she is required to perform jury

 8 service, UPS has paid the employee the difference between his or her

 9 compensation from UPS and any stipend or compensation that employees receive

10 for their jury duty service (i.e., differential pay).

11 USERRA Required UPS to Provide the Same Rights and Benefits to
   Employees Who Took Short-Term Military Leave as Employees Who Took
12 Comparable Forms of Leave, Including Paid Leave or Pay

13         31.    USERRA § 4316(b)(1) provides, in relevant part. that “a person who

14 is absent from a position of employment by reason of service in the uniformed

15 services shall be”

16         (A) deemed to be on furlough or leave of absence while performing
              such service; and
17
           (B) entitled to such other rights and benefits not determined by
18            seniority as are generally provided by the employer of the person
              to employees having similar seniority, status, and pay who are on
19            furlough or leave of absence under a contract, agreement, policy,
              practice, or plan in effect at the commencement of such service or
20            established while such person performs such service.

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22                    AMENDED CLASS ACTION COMPLAINT - 13
     Case 2:21-cv-00114-SMJ    ECF No. 16    filed 08/02/21   PageID.106 Page 14 of 23




 1 38 U.S.C. § 4316(b)(1).

 2         32.   Accordingly, if an employer provides non-seniority rights and benefits

 3 to similarly situated employees who take comparable non-military leave, including

 4 paid leave and pay, USERRA § 4316(b)(1) requires the employer to provide those

 5 same “rights and benefits” to employees during their periods of military leave. Id.;

 6 see also id. § 4303(2); 20 C.F.R. § 1002.150(a).

 7         33.   As the Department of Labor’s implementing regulations state, the

 8 “most significant factor to compare” two types of leave to determine if they are a

 9 “comparable form of leave” under USERRA is “the duration of the leave.” 20

10 C.F.R. § 1002.150(b). In addition, “other factors such as the purpose of the leave

11 and the ability of the employee to choose when to take the leave should also be

12 considered.” Id.

13 UPS Fails to Pay Employees When They Take Short-Term Military Leave

14         34.   Pursuant to UPS’s policy or practice of refusing to provide paid leave

15 to employees during periods of short-term military service, UPS failed to pay

16 Plaintiff and the members of the Class paid leave during each period in which they

17 took short-term military leave since October 10, 2004.

18         35.   Upon information and belief, throughout the relevant time period,

19 UPS provided fully paid leave or full pay to employees while they were on leave

20 from their employment with UPS for bereavement or illness, and it provided

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22                  AMENDED CLASS ACTION COMPLAINT - 14
     Case 2:21-cv-00114-SMJ      ECF No. 16    filed 08/02/21   PageID.107 Page 15 of 23




 1 differential pay to employees while they were on leave from their employment

 2 with UPS because of jury duty.

 3         36.    Jury duty, sick leave, and bereavement leave are comparable to short-

 4 term military leave in terms of the duration of these forms of leave and the

 5 involuntary nature of the leave.

 6         37.    For employees of UPS, the duration of jury duty leave, sick leave, and

 7 bereavement leave are comparable to the duration of short-term military leave.

 8 Each of these types of leaves most commonly lasts several days, and usually not

 9 more than a couple of weeks.

10         38.    Jury duty leave, sick leave, and bereavement leave, like short-term

11 military leave, are ordinarily involuntary. Jury duty is required by federal, state, or

12 local law. Bereavement leave occurs due to the death of a family member. Sick

13 leave is triggered by a medical condition. And short-term military leave occurs

14 due to an employee’s legal obligation to perform military service in the Armed

15 Forces.

16         39.    In addition, the purpose of jury duty is the same as short-term military

17 leave: to perform service for our government and to engage in public service for

18 the benefit of our society.

19         40.    UPS’s policy or practice of refusing to provide paid leave or pay to

20 employees when they take short-term military leave, while continuing to provide

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22                   AMENDED CLASS ACTION COMPLAINT - 15
     Case 2:21-cv-00114-SMJ     ECF No. 16    filed 08/02/21   PageID.108 Page 16 of 23




 1 paid leave or pay to employees when they take other comparable forms of non-

 2 military leave, violates USERRA § 4316(b), because UPS denies its employees the

 3 same non-seniority “rights and benefits” that it provides to similarly situated

 4 employees who are on furlough or leave of absence. 38 U.S.C. § 4316(b).

 5         41.   This policy has unlawfully denied UPS’s employees the pay that they

 6 should have received when they engaged in short-term military leave compared to

 7 employees who received paid leave or pay when they engage in jury duty, sick

 8 leave, bereavement leave, or other, comparable forms of non-military leave.

 9 Plaintiff’s USERRA-Protected Military Leave

10         42.   Since his employment at UPS began in 2007, Plaintiff regularly took

11 periods of short-term military leave every year from 2010 to 2020 that qualified as

12 service in the uniformed services under 38 U.S.C. § 4303(13).

13         43.   During the time that Plaintiff took short-term military leave, UPS did

14 not pay Plaintiff his regular wages.

15                                 COUNT I
                   VIOLATION OF USERRA, 38 U.S.C. § 4316(b)(1)
16                   (On Behalf of the Class Against Defendants)

17         44.   Plaintiff hereby repeats and incorporates the allegations contained in

18 the foregoing paragraphs as if fully set forth herein.

19         45.   USERRA, 38 U.S.C. § 4316(b)(1), provides that “a person who is

20 absent from a position of employment by reason of service in the uniformed

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22                   AMENDED CLASS ACTION COMPLAINT - 16
     Case 2:21-cv-00114-SMJ     ECF No. 16    filed 08/02/21   PageID.109 Page 17 of 23




 1 services shall be (A) deemed to be on furlough or leave of absence while

 2 performing such service; and (B) entitled to such other rights and benefits not

 3 determined by seniority as are generally provided by the employer of the person to

 4 employees having similar seniority, status, and pay who are on furlough or leave of

 5 absence under a contract, agreement, policy, practice, or plan in effect at the

 6 commencement of such service or established while such person performs such

 7 service.”

 8         46.   The U.S. Department of Labor’s regulations that implement and

 9 interpret USERRA § 4316(b)(1) provide that “[i]f the non-seniority benefits to

10 which employees on furlough or leave of absence are entitled vary according to the

11 type of leave, the employee must be given the most favorable treatment accorded

12 to any comparable form of leave when he or she performs service in the uniformed

13 services.” 20 C.F.R. § 1002.150(b). The “duration of leave” “may be the most

14 significant factor” to determine whether two forms of leave are comparable, and

15 other relevant factors include “the purpose of the leave and the ability of the

16 employee to choose when to take the leave.” Id.

17         47.   As described above, UPS has maintained a policy or practice of

18 failing to pay employees their regular wages or salaries when they take short-term

19 military leave, while continuing to pay employees their wages or salaries when

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22                   AMENDED CLASS ACTION COMPLAINT - 17
     Case 2:21-cv-00114-SMJ    ECF No. 16    filed 08/02/21   PageID.110 Page 18 of 23




 1 they take other comparable forms of non-military leave such as jury duty, sick

 2 leave, and bereavement leave.

 3        48.    As described above, these forms of leave – jury duty, sick leave, and

 4 bereavement leave – are comparable to short-term military leave in terms of the

 5 duration, purpose, and/or the ability of the employee to determine whether to take

 6 the leave.

 7        49.    By adopting and applying a policy or practice of not providing

 8 employees who take short-term military leave paid leave or pay, UPS denied

 9 Plaintiff and the Class the same “rights and benefits,” namely paid leave, pay,

10 wages, and/or salaries, that UPS provided to employees who take other,

11 comparable forms of non-military leave, including jury duty leave, sick leave, and

12 bereavement leave. Thus, UPS failed to provide employees on short-term military

13 leave the most favorable treatment that UPS afforded employees on other,

14 comparable forms of non-military leave. By doing so, UPS violated and continues

15 to violate USERRA § 4316(b)(1).

16        50.    Due to UPS’s failure to comply with USERRA § 4316(b)(1), Plaintiff

17 and other members of the Class have received less paid leave, pay, and/or

18 compensation than they would have received had UPS complied with USERRA

19 and the Department of Labor’s regulations.

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22                  AMENDED CLASS ACTION COMPLAINT - 18
     Case 2:21-cv-00114-SMJ     ECF No. 16    filed 08/02/21   PageID.111 Page 19 of 23




 1         51.    Upon information and belief, UPS’s violation of USERRA

 2 § 4316(b)(1) was willful. Accordingly, UPS should be required to pay liquidated

 3 damages pursuant to 38 U.S.C. § 4323(d)(1)(C).

 4                                PRAYER FOR RELIEF

 5         WHEREFORE, Plaintiff prays that judgment be entered against UPS on all

 6 claims and respectfully requests that this Court award the following relief:

 7         A.     Declare that UPS’s policy or practice by which it failed to provide

 8 employees with paid leave or pay when they took short-term military leave, while

 9 providing paid leave or pay to employees who took other, comparable forms of

10 non-military leave, violated the rights of Plaintiff and the Class under 38 U.S.C.

11 § 4316(b);

12         B.     Declare that UPS’s violations of USERRA were willful under 38

13 U.S.C. § 4323(d)(1)(C);

14         C.     Declare that UPS must provide paid leave or pay to employees who

15 take short-term military on the same basis as employees who take leave for jury

16 duty, sick leave, bereavement leave, or other forms of comparable short-term, non-

17 military leave;

18         D.     Require UPS to recalculate and pay the paid leave, pay, wages, and/or

19 salary that Plaintiff and the Class are entitled to receive in accordance with the

20 Court’s declaration;

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22                   AMENDED CLASS ACTION COMPLAINT - 19
     Case 2:21-cv-00114-SMJ      ECF No. 16   filed 08/02/21   PageID.112 Page 20 of 23




 1         E.     Order UPS to pay all members of the Class liquidated damages in an

 2 amount to be determined at trial pursuant to 38 U.S.C. § 4323(d)(1)(C);

 3         F.     Award pre-judgment and post-judgment interest on any monetary

 4 relief awarded or required by order of this Court;

 5         G.     Require UPS to pay attorneys’ fees, expert witness fees, litigation

 6 expenses and costs pursuant to 38 U.S.C. § 4323(h) and/or order the payment of

 7 reasonable fees and expenses in this action to Plaintiff’s Counsel on the basis of

 8 the common benefit and/or common fund doctrine out of any money or benefit

 9 recovered for the Class in this Action; and

10         H.     Grant such other and further relief as the Court deems proper, just,

11 and/or equitable.

12                               JURY TRIAL DEMAND

13         Plaintiff demands a trial by jury for all causes of action and issues for which

14 trial by jury is available.

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22                   AMENDED CLASS ACTION COMPLAINT - 20
     Case 2:21-cv-00114-SMJ   ECF No. 16   filed 08/02/21   PageID.113 Page 21 of 23




 1 Dated: August 2, 2021                     Respectfully submitted,

 2                                           /s/ Michael J. Scimone _______
                                             Michael J. Scimone*
 3                                           OUTTEN & GOLDEN LLP
                                             685 Third Avenue, 25th Floor
 4                                           New York, NY 10017
                                             Telephone: (212) 245-1000
 5                                           Fax: (646) 509-2060
                                             mscimone@outtengolden.com
 6
                                             Thomas G. Jarrard (WSBA #39774)
 7                                           LAW OFFICE OF THOMAS G.
                                             JARRARD, PLLC
 8                                           1020 N. Washington St.
                                             Spokane, WA 99201
 9                                           Telephone: (425) 239-7290
                                             tjarrard@att.net
10
                                             Matthew Z. Crotty (WSBA #39284)
11                                           CROTTY & SON LAW FIRM, PLLC
                                             905 W. Riverside Ave., Suite 404
12                                           Spokane, WA 99201
                                             Telephone: (509) 850-7011
13                                           matt@crottyandson.com

14                                           R. Joseph Barton*
                                             BLOCK & LEVITON LLP
15                                           1735 20th Street, NW
                                             Washington D.C. 20009
16                                           Telephone: (202) 734-7046
                                             Fax: (617) 507-6020
17                                           jbarton@blockesq.com

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22                 AMENDED CLASS ACTION COMPLAINT - 21
     Case 2:21-cv-00114-SMJ   ECF No. 16   filed 08/02/21   PageID.114 Page 22 of 23




 1                                           Peter Romer-Friedman**
                                             GUPTA WESSLER PLLC
 2                                           1900 L Street, NW, Suite 312
                                             Washington, DC 20036
 3                                           Telephone (202) 888-1741
                                             peter@guptawessler.com
 4
                                             * admitted pro hac vice
 5                                           ** pro hac vice application
                                             forthcoming
 6
                                             Attorneys for Plaintiff and the Proposed
 7                                           Class

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22                 AMENDED CLASS ACTION COMPLAINT - 22
     Case 2:21-cv-00114-SMJ    ECF No. 16    filed 08/02/21   PageID.115 Page 23 of 23




 1                            CERTIFICATE OF SERVICE

 2        I certify that on August 2, 2021, I caused the foregoing Amended Class

 3 Action Complaint to be electronically filed with the Clerk of the Court using the

 4 CM/ECF system, which in turn automatically generated a Notice of Electronic

 5 Filing (NEF) to all parties in the case who are registered users of the CM/ECF

 6 system.

 7

 8                                               /s/ Michael J. Scimone_______
                                                 Michael J. Scimone
 9
                                                 Attorney for Plaintiff and the
10                                               Proposed Class

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22                  AMENDED CLASS ACTION COMPLAINT - 23
